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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,                                           Case No. 23-cr-20307

v.
                                                             Hon. Sean F. Cox
ROMELL LEMOYNE GOODSON,                                      United States District Court Judge

        Defendant.


     OPINION AND ORDER GRANTING DEFENDANT’S MOTION TO REOPEN THE
                               RECORD

        The Court held a suppression hearing in this criminal case, and the defendant now moves

to reopen that suppression hearing so that he may present additional evidence. Because

Defendant has a reasonable and adequate explanation for failing to present the additional

evidence at the suppression hearing and the factors detailed by the Sixth Circuit in United States

v. Holland, 522 F. App’x 265 (6th Cir. 2013), weigh in his favor, the Court grants Defendant’s

motion.

                                        BACKGROUND

        Defendant Romell Goodson was indicted under 18 U.S.C. § 922(g)(1) for possessing a

firearm as a felon after Detroit Police Department officer Lorenzo Palmer recovered a firearm

from him. On October 6, 2023, Defendant moved to suppress the evidence recovered from his

interaction with Officer Palmer under the Fourth Amendment exclusionary rule. The

Government filed a response on November 11, 2023, where it argued that Officer Palmer had

conducted an investigatory stop with reasonable suspicion, and had lawfully recovered the

firearm from Defendant under the officer-safety exception to the warrant requirement. On




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November 9, 2023, the Court scheduled a suppression hearing for November 30, 2023, at 2:00

P.M.

       On November 29, 2023, at 2:32 P.M., an attorney for the Government emailed

Defendant’s counsel to inform Defendant that the Government would raise an argument at the

suppression hearing that it had not raised in its response. The email stated that the Government

would argue that the interaction between Defendant and Officer Palmer had been consensual,

and that Officer Palmer had probable cause to search Defendant after he told Officer Palmer that

he had a gun.

       At the suppression hearing, the Government called Officer Palmer, who testified to the

following facts. Officer Palmer and his partner, Officer Kijuan Anderson, were patrolling a

high-crime area on Detroit’s west side in a semi-marked police vehicle in the early morning

hours of April 26, 2023. As the officers pulled into the parking lot of a gas station, Defendant,

who was walking across the parking lot, looked back at them and “was clutching his front hoodie

pocket.” (ECF No. 38, PageID.165).

       The officers “drove on the side of [Defendant],” who “looked and turned away a little

bit.” (Id.). Officer Palmer then got out of his vehicle and asked Defendant, “Hey, what’s up

man? Do you have a gun on you or are you armed?” in a “normal” tone of voice. (Id. at 166,

167). Defendant replied, “I do have a gun on me, but it ain’t mine.” (Id. at 167). Officer Palmer

subsequently “removed the handgun for my safety my partner’s safety” from the front pocket of

Defendant’s hoodie. (Id.).

       On cross-examination, Officer Palmer described that Defendant was “startled” when he

and Officer Anderson pulled up near him in their vehicle. (Id. at 177). Officer Palmer stated

that he walked up “[v]ery close” to Defendant after he exited the vehicle, and that Defendant had




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taken his hands out of his pocket and put them up in the air. (Id. at 183). Officer Palmer also

recalled that Defendant was holding a plastic bag and another item as he held his hands in the air.

Officer Palmer further stated that he had approached Defendant because he suspected that

Defendant was involved in criminal activity.

       Defendant did not ask Officer Palmer whether Officer Palmer had touched Defendant

before Officer Palmer asking him whether he was armed. No other witnesses testified at the

suppression hearing, and neither Defendant nor the Government offered any exhibits.

       Defendant now moves to reopen the suppression hearing, and the Government opposes

Defendant’s motion. Defendant’s motion and the Government’s response were fully briefed, and

the Court heard oral argument on January 26, 2024. For the following reasons, the Court grants

Defendant’s motion.

                                   STANDARD OF REVIEW

       Before this Court may reopen a suppression hearing, “the movant must provide ‘a

reasonable and adequate explanation for failing to put forth its evidence in the original

[hearing].’” United States v. Holland, 522 F. App’x 265, 270 (6th Cir. 2013) (quoting Stennis,

457 F. App’x at 502). If the movant has made such a showing, then the court must also consider

“the timeliness of the motion, the character of the proposed testimony, the effect of granting the

motion, and, most importantly, whether the opposing party will be prejudiced by reopening the

[hearing].” Id. And courts should be “extremely reluctant” to reopen a suppression hearing.

Stennis, 457 F. App’x at 502.

                                           ANALYSIS

       To resolve Defendant’s motion, the Court must determine whether Defendant has

provided a sufficient explanation for failing to present at the suppression hearing the evidence




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that Defendant now wishes to introduce. If Defendant has made such a showing, then the Court

must consider (1) whether Defendant’s motion is timely; (2) the character of the evidence that

Defendant would introduce; (3) the effect reopening the suppression hearing; and (4) whether the

Government will be prejudiced if the suppression hearing is reopened. See United States v.

Holland, 522 F. App’x 265, 270 (6th Cir. 2013). Defendant provided a sufficient explanation for

failing to introduce at the suppression hearing the evidence that he now wishes to present, and

the other four Holland factors weigh in his favor.

       Defendant wishes to testify that Officer Palmer placed his hand on Defendant’s arm

before he asked Defendant whether he was armed. Defendant also wishes to recall Officer

Palmer for further questioning. Defendant clarified at oral argument that he would ask Officer

Palmer whether Officer Palmer touched him before Officer Palmer asked him whether he had a

gun.

       Defendant asserts that he failed to introduce this evidence at the suppression hearing

because he did not learn that the Government would argue at that hearing that the interaction

between him and Officer Palmer was consensual until late in the afternoon on the day before the

hearing. This explanation is reasonable and adequate.

       With respect to the first Holland factor, Defendant filed his Motion to Reopen the Record

less than two weeks after the suppression hearing. Defendant’s motion is timely.

       Concerning the second and third Holland factors, Defendant would present evidence that

Officer Palmer touched him before Officer Palmer asked him whether he had a gun. This

evidence is within the scope of Officer Palmer’s testimony on direct examination and is relevant

to whether the interaction between Defendant and Officer Palmer was consensual.




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        The Government argues that further testimony from Officer Palmer would not help

Defendant. But the Government did not dispute at oral argument that Defendant did not ask

Officer Palmer whether Officer Palmer touched him before asking him whether he was armed.

And this evidence is relevant to whether Defendant consented to interact with Officer Palmer

when he told Officer Palmer that he had a gun.

        The Government also argues that the proposed testimony from Defendant himself is

contradicted by video footage from Officer Palmer’s body camera. If the Government believes

that this evidence would undermine Defendant’s testimony, then it should introduce it in open

Court after Defendant’s testimony has been received. The Court declines to resolve whether this

footage conflicts with Defendant’s testimony at this time.

        The character and potential effect of Defendant’s proposed evidence weigh in favor of

reopening the suppression hearing.

        Regarding the last Holland factor, the Government argues that it would be prejudiced if

the Court reopened the suppression hearing for two reasons. First, the Government argues that it

would be prejudiced by the delay that would result. Second, the Government argues that it

would be prejudiced by Defendant’s proposed testimony because he has had the benefit of seeing

the evidence that the Government presented at the suppression hearing. Both of these arguments

fail.

        First, any delay that might result from reopening the suppression hearing is attributable to

the Government. But for the Government’s failure to timely and adequately notify Defendant of

its intent to argue that his interaction with Officer Palmer was consensual at the suppression

hearing, Defendant would not have moved to reopen the hearing.




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       Second, the Government’s assertion that it will be prejudiced by Defendant’s testimony

implicitly assumes that Defendant will perjure himself. If the Government wishes to attack

Defendant’s character for truthfulness, then it should do so on cross-examination at a reopened

suppression hearing and not in the papers.

       The Government has not shown that it will be prejudiced if the Court reopens the

suppression hearing.

       All four of the Holland factors weigh in favor of reopening the suppression hearing.

                                  CONCLUSION & ORDER

       Defendant provided a reasonable and adequate explanation for failing to introduce

evidence that Officer Palmer touched Defendant before asking him whether he had a gun at the

suppression hearing. And all four Holland factors weigh in favor of reopening the suppression

hearing to permit Defendant to present this evidence.

       Accordingly, IT IS ORDERED that Defendant’s Motion to Reopen the Record is

GRANTED.

       IT IS FURTHER ORDERED that the hearing on Defendant Romell Lemoyne

Goodson’s Motion to Suppress (ECF No. 28) shall continue on February 9, 2024, at 10:30

A.M. before District Judge Sean F. Cox at the United States District Court, Theodore Levin U.S.

Courthouse, 231 W. Lafayette Boulevard, Room 817, Detroit, Michigan.

       IT IS FURTHER ORDERED that Detroit Police Officer Lorenzo Palmer shall be

recalled to the stand for further cross-examination at the continued suppression hearing.

       IT IS FURTHER ORDERED that Defendant Romell Lemoyne Goodson’s presentation

of evidence is limited to testimony from Police Officer Lorenzo Palmer and/or Defendant

himself about whether the interaction between Defendant and Officer Palmer was consensual.




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       IT IS FURTHER ORDERED that Assistant U.S. Attorney Diane Princ shall inform

Detroit Police Officer Lorenzo Palmer as soon as is practicable that his presence is required at

the continued suppression hearing.

       IT IS SO ORDERED.



Dated: January 30, 2024                              s/Sean F. Cox
                                                     Sean F. Cox
                                                     U. S. District Judge


I hereby certify that on January 30, 2024, the document above was served on counsel and/or the
parties of record via electronic means and/or First Class Mail.

                                                     s/Jennifer McCoy
                                                     Case Manager




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